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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 PERKINS COIE LLP,

                 Plaintiff,

        v.                                                Civil Action No. 25-0716 (BAH)

 U.S. DEPARTMENT OF JUSTICE, et al.,

                 Defendants.


                                       STATUS REPORT

       On March 19, 2025, the Court entered a Minute Order directing that “defendants U.S.

Department of Justice; Pamela Bondi, in her official capacity as U.S. Attorney General; the

Office of Management and Budget; and Russell Vought, in his official capacity as Director of the

Office of Management and Budget . . . immediately issue guidance to all other agencies subject

to Executive Order 14230 directing them immediately to (a) communicate to every recipient of a

request for disclosure of any relationship with Perkins Coie LLP or any person associated with

the firm, made pursuant to Section 3(a) of Executive Order 14230, that such request is rescinded

until further order of this Court; and (b) cease making such requests for disclosure, pursuant to

Section 3(a) of Executive Order 14230, until further order of the Court.” The Court’s Minute

Order also required defendants to file a status report by 12:00 noon today regarding the same.

       Defendants respectfully file this Status Report and state as follows:

       1. The Court’s Minute Order issued at 9:43 a.m. in response to Plaintiff’s Motion to

             Clarify Temporary Restraining Order (ECF 30), which was filed at 6:39 p.m. on

             March 18, 2025. Thus, the Minute Order issued without the benefit of a response by
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        Defendants to Plaintiff’s Motion to Clarify, including Defendants’ position that the

        additional issuance requested by Plaintiffs was neither necessary nor appropriate.

     2. Defendants have worked diligently to implement the Court’s Minute Order, despite

        the significant logistical difficulties of coordinating joint Department of Justice and

        Office of Management and Budget guidance, issued by the Attorney General and the

        Director of OMB, between both agencies, their principals or representatives, as well

        as then distributing such guidance through the appropriate administrative process

        involved to ensure the guidance is issued to all agencies as directed by the Court’s

        Minute Order.

     3. The joint OMB-DOJ guidance required by the Court’s Minute Order, using the

        specific language called for in the Court’s Minute Order, was distributed to all

        agencies via the OMB process for providing such all-agency issuances a short time

        ago.

     4. Defendants recognize that this Status Report is filed several minutes beyond Noon

        and request the Court’s indulgence in the matter. Counsel for Defendant were able to

        confirm with OMB that the guidance required by the Court’s Minute Order was

        distributed through the OMB process by approximately Noon today, with this Status

        Report filed as soon as possible following that confirmation.




Dated: March 20, 2025                     Respectfully submitted,
       Washington, DC

                                          CHAD MIZELLE
                                          Acting Associate Attorney General




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                            Counsel for Defendants




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